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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

   IN RE:                                             :       CHAPTER 11
                                                      :
   BEAUTIFUL BROWS LLC,                               :       CASE NO. 18-66766-JWC
                                                      :
            Debtor.                                   :
                                                      :

                                          REPORT OF SALE

            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                      1.

            By Order entered on February 26, 2019 [Doc. No. 97], this Court authorized the

   Trustee to sell certain personal property located at 5002 North Royal Atlanta Drive,

   Tucker, Georgia, including several pieces of equipment that are not essential to the

   Debtor’s operating locations (the “Property”). The Trustee held a public on-line auction

   of the Property, which concluded on February 26, 2019, and sold the Property for

   $95,280.001. Attached as Exhibit “A” is an auction summary, attached as Exhibit “B” is

   a list of the individual items sold, the winning bidder numbers and winning bid amounts,

   and attached as Exhibit “C” is a list of bidders which identifies the winning bidder

   (“Purchasers”) on Exhibit “B.”

                                                      2.

            The Trustee reports that he has completed the delivery of the Property to the


   1
    The total paid by the Purchasers was $104,808.00, which includes a buyer’s premium of $9,528.00 which
   was paid to the Trustee’s auctioneer, Bullseye Auction & Appraisal.
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   Purchasers and netted $85,252.00 from the auction after payment of auctioneer

   commission and expenses.

         Respectfully submitted this 1st day of October, 2019.

                                                         /s
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 200
   Atlanta, Georgia 30305
   (404) 926-0060
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                                   Exhibit “A”
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                                         500 Pike Park Drive | Suite F | Lawrenceville, GA 30046
                                                    770-544-7479 phone | 888-544-7479 fax
                                                       www.BullseyeAuctions.com


                                                        Seller Settlement

                 Seller Information                                                         Auction Information
     Seller Name: S. Gregory Hays                                              Auction: Beautiful Brows, LLC
  Company Name: Hays Financial Consulting, LLC                                    Date: February 26th, 2019
         Address: 2964 Peachtree Road                                             Time: 10:00:00 AM
                     Suite 555                                                Location: 5002 North Royal Atlanta Drive, Suite M
 City, State & Zip: Atlanta, GA 30305-2153                                                 Tucker, GA 30084
   Email Address: ghays@haysconsulting.com
           Phone: 404-926-0051



                                                                  Expenses

      Date              Amount                  Merchant                                           Description
          2/4/2019           $79.00 EstateSales.net                     Advertising
          2/5/2019           $60.00 AuctionZip.com                      Auction Post
          2/4/2019          $200.00 AuctionZip.com                      Advertising
          3/4/2019               $6.70 Deluxe                           Settlement E Check
          3/4/2019          $200.00 Bidwrangler                         Online Auction Access
       12/30/1899         $1,000.00 Stanley Lewis Moving                Moving/Relocation
          2/5/2019          $225.48 Penske Truck Rental                 Truck Rental
          2/5/2019           $11.40 QT                                  Fuel for Truck
       12/30/1899           $150.00 DotMed                              Advertising
         2/11/2019               $3.00 Craigslist                       Advertising
         2/19/2019          $146.56 Budget Truck Rental                 Truck for Machine
         2/20/2019               $7.35 USPS                             Postage
         2/27/2019          $850.00 Independent Contractors             Labor
         2/28/2019          $156.45 Penske Truck Rental                 Move Tucker to BAA
         2/28/2019               $8.50 QT                               Fuel for Truck
Total of Expenses:        $3,104.44



                                                                   Summary
                                                     Auction Gross:     ($   104,808.00)
                                                Buyer's Premium:        ($     9,528.00)
                                         Adjusted Auction Gross:        ($    95,280.00)
                                        Auctioneer Commissions:         ($     9,528.00)
                                         Total Auction Expenses:        ($     3,104.44)
                                                    Credit to Seller:   ($     2,604.44) (marketing expenses exceeded $500 budget)
                                          Auction Net to Seller:        ($    85,252.00)
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                                   Exhibit “B”
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                                      Beautiful Brows

                                         Priced Lot List
Lot #                                   Description                                       Price       Bidder
        3 - Salon Pros SP-209 Sterilizer Cabinets 3 - Salon Pros SP-209 Sterilizer
  1     Cabinets                                                                     ($      90.00)    2024
        3 - Salon Pros SP-209 Sterilizer Cabinets 3 - Salon Pros SP-209 Sterilizer
  2     Cabinets                                                                     ($      75.00)    2024
        3 - Salon Pros SP-209 Sterilizer Cabinets 3 - Salon Pros SP-209 Sterilizer
  3     Cabinets                                                                     ($      75.00)    2024
        White Wooden Desk With Leather Chair White Wooden Desk With
  4     Leather Chair                                                                ($      80.00)    2117
        2 - Salon Pros SP-707 Facial Steamers 2 - Salon Pros SP-707 Facial
  5     Steamers                                                                     ($    120.00)     2117
        2 - Salon Pros SP-707 Facial Steamers 2 - Salon Pros SP-707 Facial
  6     Steamers                                                                     ($    120.00)     2114
  7     12 - 1/2 Gallon Bottles of Barbicide 12 - 1/2 Gallon Bottles of Barbicide    ($      75.00)    2117
  8     12 - 1/2 Gallon Bottles of Barbicide 12 - 1/2 Gallon Bottles of Barbicide    ($      75.00)    2117
  9     12 - 1/2 Gallon Bottles of Barbicide 12 - 1/2 Gallon Bottles of Barbicide    ($      75.00)    2117
 10     12 - 1/2 Gallon Bottles of Barbicide 12 - 1/2 Gallon Bottles of Barbicide    ($      80.00)    2117
        Samsung Stackable Washer and Dryer: Dryer Model Number
        (DV42H5000EW/A3) Washer Model Number (WF42H5000AW/A2)
        Samsung Stackable Washer and Dryer: Dryer Model Number
 11     (DV42H5000EW/A3) Washer Model Number (WF42H5000AW/A2)                        ($    690.00)     2117
        Danby Refrigerator/Freezer Model Number (DFF100C1WDB) Danby
 12     Refrigerator/Freezer Model Number (DFF100C1WDB)                              ($    105.00)     2117
 13     Athena All Purpose Chair Athena All Purpose Chair                            ($    115.00)     2024
 14     Framed Art Approx. 49inX39in Framed Art Approx. 49inX39in                    ($      41.00)    2039
 15     Canvas Art Approx. 50inX30in Canvas Art Approx. 50inX30in                    ($      50.00)    2117
        2 - Salon Pros SP-209 Sterilizer Cabinets 2 - Salon Pros SP-209 Sterilizer
 16     Cabinets                                                                     ($      65.00)    2024
        2 - Salon Pros SP-209 Sterilizer Cabinets 2 - Salon Pros SP-209 Sterilizer
 17     Cabinets                                                                     ($      69.00)    2024
 18     6 - 1/2 Gallon Bottles of Barbicide 6 - 1/2 Gallon Bottles of Barbicide      ($      35.00)    2117


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19    (6)- 1/2 Gallon Bottles of Barbicide (6)- 1/2 Gallon Bottles of Barbicide        ($    30.00)   2117
20    (6) - 1/2 Gallon Bottles of Barbicide (6) - 1/2 Gallon Bottles of Barbicide      ($    30.00)   2109
21    (15) Barbicide Mid-size Jars (15) Barbicide Mid-size Jars                        ($   134.00)   2117
22    (15) Barbicide Mid-size Jars (15) Barbicide Mid-size Jars                        ($   120.00)   2024
23    (15) Barbicide Mid-size Jars (15) Barbicide Mid-size Jars                        ($   120.00)   2024
      Framed Canvass Art Approx. 51in X 39 1/2in Framed Canvass Art Approx.
24    51in X 39 1/2in                                                                  ($    40.00)   2108
      Clover POS System Including Terminal P100 Printer, C101 Touch Screen,
      and Cash Box (No Key) Clover POS System Including Terminal P100 Printer,
25    C101 Touch Screen, and Cash Box (No Key)                                 ($           150.00)   2086
      (2) - Salon Pros SP-209 Sterilizer Cabinets (2) - Salon Pros SP-209 Sterilizer
26    Cabinets                                                                         ($    75.00)   2122
27    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    55.00)   2117
28    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    55.00)   2086
29    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    65.00)   2143
30    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    55.00)   2086
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
31    Cabinets                                                                         ($    55.00)   2024
32    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    50.00)   2086
33    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    45.00)   2140
34    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    50.00)   2117
35    (2) - Salon Pros SP-607 Wax Warmer (2) - Salon Pros SP-607 Wax Warmer            ($    45.00)   2117
      (30) +/- Bags of MOD Clean Powder Detergent/Disinfectant (Each Bag
      Contains 32 Water Soluable Packets) (30) +/- Bags of MOD Clean Powder
36    Detergent/Disinfectant (Each Bag Contains 32 Water Soluable Packets)             ($   200.00)   2117
      (30) +/- Bags of MOD Clean Powder Detergent/Disinfectant (Each Bag
      Contains 32 Water Soluable Packets) (30) +/- Bags of MOD Clean Powder
37    Detergent/Disinfectant (Each Bag Contains 32 Water Soluable Packets)             ($   190.00)   2024
      (30) +/- Bags of MOD Clean Powder Detergent/Disinfectant (Each Bag
      Contains 32 Water Soluable Packets) (30) +/- Bags of MOD Clean Powder
38    Detergent/Disinfectant (Each Bag Contains 32 Water Soluable Packets)             ($   190.00)   2117
39    (8) Barbicide Disenfectant Jars (8) Barbicide Disenfectant Jars                  ($    75.00)   2035
40    (28) +/- 16oz Barbicide/Germicide (28) +/- 16oz Barbicide/Germicide              ($    75.00)   2117
41    (28) +/- 16oz Barbicide/Germicide (28) +/- 16oz Barbicide/Germicide              ($    80.00)   2109
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
42    Cabinets                                                                         ($    65.00)   2024
43    (8) - Salon Pros SP-607 Wax Warmer (8) - Salon Pros SP-607 Wax Warmer            ($   130.00)   2117
      Framed Canvass Art Approx. 50in X 62in Framed Canvass Art Approx. 50in
44    X 62in                                                                 ($              45.00)   2108
      Assortment of Items on Top Shelf (Facial Cleaners Kits Etc.) Assortment of
45    Items on Top Shelf (Facial Cleaners Kits Etc.)                             ($         322.00)   2013
46    (12) Barbicide Disenfectant Jars (12) Barbicide Disenfectant Jars                ($    85.00)   2077
47    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer            ($    60.00)   2024




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      (5) - Salon Pros SP-209 Sterilizer Cabinets (5) - Salon Pros SP-209 Sterilizer
48    Cabinets                                                                         ($   125.00)    2024
      ~(30) - 1/2 Gallon Bottles of Barbicide ~(30) - 1/2 Gallon Bottles of
49    Barbicide                                                                        ($   145.00)    2030
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
50    Cabinets                                                                         ($   140.00)    2024
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
51    Cabinets                                                                         ($   110.00)    2024
      (5) - Salon Pros SP-209 Sterilizer Cabinets (5) - Salon Pros SP-209 Sterilizer
52    Cabinets                                                                         ($   130.00)    2024
      Magic Mirror for Face Survey Model Number (FS-112) Magic Mirror for
53    Face Survey Model Number (FS-112)                                                ($   260.00)    2086
      RCA 40inch LED/LCD Full HD Smart TV RCA 40inch LED/LCD Full HD Smart
54    TV                                                                               ($    75.00)    2132
55    Assortment of Small Trashcans Assortment of Small Trashcans                      ($    65.00)    2117
      EPSON XP-820 Color Printer and White File Cabinet EPSON XP-820 Color
56    Printer and White File Cabinet                                                   ($    35.00)    2099
      (4) - Salon Pros SP-707 Facial Steamer (4) - Salon Pros SP-707 Facial
57    Steamer                                                                          ($   200.00)    2117
      (4) - Salon Pros SP-707 Facial Steamer (4) - Salon Pros SP-707 Facial
58    Steamer                                                                          ($   150.00)    2024
      (4) - Salon Pros SP-707 Facial Steamer (4) - Salon Pros SP-707 Facial
59    Steamer                                                                          ($   135.00)    2024
60    Portable Folding Massage Table Portable Folding Massage Table                    ($    90.00)    2119
61    (3) - Vinyl Black Side Chairs (3) - Vinyl Black Side Chairs                      ($    25.00)    2114
62    White Facial Chair White Facial Chair                                            ($   130.00)    2117
63    White Facial Chair White Facial Chair                                            ($   130.00)    2117
      Black Shampoo Chair and Bowl with Plumbing Fixtures Black Shampoo
64    Chair and Bowl with Plumbing Fixtures                                            ($   210.00)    2024
      Candella Model Number Gentle YAG Pro-U (S/N: 9914-9020-3918) Laser
      Hair Removal System Candella Model Number Gentle YAG Pro-U (S/N:
65    9914-9020-3918) Laser Hair Removal System                                        ($ 30,030.00)   2086
      (6) Miscellaneous Salon Pro SP-209 Sterilizers (6) Miscellaneous Salon Pro
66    SP-209 Sterilizers                                                               ($    95.00)    2030
67    Buy Right 10in1 Skin Care Machine Buy Right 10in1 Skin Care Machine              ($   750.00)    2117
68    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer            ($    60.00)    2117
69    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer            ($    60.00)    2117
70    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer            ($    75.00)    2117
71    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer            ($    75.00)    2117
72    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer            ($    75.00)    2117
73    Black Athena All Purpose Salon Chair Black Athena All Purpose Salon Chair ($          120.00)    2024
74    Black Athena All Purpose Salon Chair Black Athena All Purpose Salon Chair ($          140.00)    2024
75    Black RHEA All Purpose Salon Chair Black RHEA All Purpose Salon Chair            ($    75.00)    2024
76    Black RHEA All Purpose Salon Chair Black RHEA All Purpose Salon Chair            ($    75.00)    2024


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77    Black RHEA All Purpose Salon Chair Black RHEA All Purpose Salon Chair     ($    70.00)    2024
78    Black RHEA All Purpose Salon Chair Black RHEA All Purpose Salon Chair     ($    90.00)    2024
79    Black RHEA All Purpose Salon Chair Black RHEA All Purpose Salon Chair     ($   110.00)    2057
80    Black Hera All Purpose Salon Chair Black Hera All Purpose Salon Chair     ($    70.00)    2024
81    Black Hera All Purpose Salon Chair Black Hera All Purpose Salon Chair     ($    70.00)    2024
82    Black Hera All Purpose Salon Chair Black Hera All Purpose Salon Chair     ($    81.00)    2024
83    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer     ($    90.00)    2117
84    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer     ($    95.00)    2117
85    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer     ($    90.00)    2117
86    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer     ($    85.00)    2117
87    (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer     ($    75.00)    2035
88    (8) - Salon Pros SP-607 Wax Warmer (8) - Salon Pros SP-607 Wax Warmer     ($    60.00)    2024
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
89    Chair SIZE: 67x67x60cm                                                    ($   115.00)    2024
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
90    Chair SIZE: 67x67x60cm                                                    ($   135.00)    2052
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
91    Chair SIZE: 67x67x60cm                                                    ($   135.00)    2052
      Candella Model Number Gentle YAG Pro-U (S/N 9914-9020-3604) Laser
      Hair Removal System Candella Model Number Gentle YAG Pro-U (S/N
93    9914-9020-3604) Laser Hair Removal System                                 ($ 24,010.00)   2086
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
94    Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($    70.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
95    Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   105.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
96    Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   130.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
97    Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   110.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
98    Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   130.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
99    Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   130.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
100   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   120.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
101   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   110.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
102   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   230.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
103   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   115.00)    2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
104   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($   120.00)    2024




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      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
105   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($          245.00)   2057
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
106   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   110.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
107   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   105.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
108   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   120.00)   2086
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
109   Purpose Salon Chair SIZE: 63x62x60cm                                             ($    90.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
110   Purpose Salon Chair SIZE: 63x62x60cm                                             ($    60.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
111   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   115.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
112   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   110.00)   2057
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
113   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   110.00)   2057
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
114   Cabinets                                                                         ($    50.00)   2024
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
115   Cabinets                                                                         ($    55.00)   2117
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
116   Cabinets                                                                         ($    92.00)   2008
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
117   Cabinets                                                                         ($    75.00)   2052
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
118   Cabinets                                                                         ($    75.00)   2024
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
119   Steamer                                                                          ($   140.00)   2024
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
120   Steamer                                                                          ($   110.00)   2122
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
121   Steamer                                                                          ($    65.00)   2024
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
122   Steamer                                                                          ($   100.00)   2117
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
123   Steamer                                                                          ($    60.00)   2024
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
124   Steamer                                                                          ($    70.00)   2024
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
125   Steamer                                                                          ($    65.00)   2024
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
126   Steamer                                                                          ($    90.00)   2024




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      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
127   Steamer                                                                          ($   100.00)   2086
      (3) - Salon Pros SP-707 Facial Steamer (3) - Salon Pros SP-707 Facial
128   Steamer                                                                          ($    70.00)   2024
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
129   Cabinets                                                                         ($    90.00)   2128
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
130   Cabinets                                                                         ($    90.00)   2128
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
131   Cabinets                                                                         ($    75.00)   2024
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
132   Cabinets                                                                         ($    35.00)   2024
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
133   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($          265.00)   2086
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
134   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($          270.00)   2086
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
135   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($          285.00)   2065
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
136   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($          285.00)   2086
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
137   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($          275.00)   2057
      Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm
138   Black Big Boi Leather Barber and All Purpose Salon Chair SIZE: 73x73x69cm ($          275.00)   2057
      (2)- Buy Right Floor Luminecsent Magnifyer (2)- Buy Right Floor
139   Luminecsent Magnifyer                                                            ($   215.00)   2117
      (2)- Buy Right Floor Luminecsent Magnifyer (2)- Buy Right Floor
140   Luminecsent Magnifyer                                                            ($   215.00)   2117
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
141   Purpose Salon Chair SIZE: 63x62x60cm                                             ($    80.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
142   Purpose Salon Chair SIZE: 63x62x60cm                                             ($    90.00)   2122
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
143   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   110.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
144   Purpose Salon Chair SIZE: 63x62x60cm                                             ($    90.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
145   Purpose Salon Chair SIZE: 63x62x60cm                                             ($    90.00)   2089
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
146   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   110.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
147   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   110.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
148   Purpose Salon Chair SIZE: 63x62x60cm                                             ($   105.00)   2024
149   Amazon All Purpose Black Chair Amazon All Purpose Black Chair                    ($    20.00)   2024



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150   Amazon All Purpose Black Chair Amazon All Purpose Black Chair              ($    40.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
151   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   115.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
152   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   115.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
153   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   105.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
154   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   110.00)   2057
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
155   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   105.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
156   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   115.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
157   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   120.00)   2024
      Black RHEA All Purpose Salon Chair SIZE: 63x62x60cm Black RHEA All
158   Purpose Salon Chair SIZE: 63x62x60cm                                       ($   130.00)   2057
159   Salon Pro Facial Bed WHITE Salon Pro Facial Bed WHITE                      ($   200.00)   2024
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
160   Chair SIZE: 67x67x60cm                                                     ($   110.00)   2024
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
161   Chair SIZE: 67x67x60cm                                                     ($   110.00)   2024
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
162   Chair SIZE: 67x67x60cm                                                     ($   120.00)   2039
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
163   Chair SIZE: 67x67x60cm                                                     ($   105.00)   2024
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
164   Chair SIZE: 67x67x60cm                                                     ($   105.00)   2024
      Black All Purpose Salon Chair SIZE: 67x67x60cm Black All Purpose Salon
165   Chair SIZE: 67x67x60cm                                                     ($   125.00)   2024
166   (2) - White Leather Chairs (2) - White Leather Chairs                      ($    65.00)   2117
167   Yellow Metal Warehouse Cart Yellow Metal Warehouse Cart                    ($    85.00)   2024
      (5) Cases (12 Boxes Each) Graham Professional CelluCotton Beauty Coil (5)
169   Cases (12 Boxes Each) Graham Professional CelluCotton Beauty Coil         ($     65.00)   2035
170   Danby Refrigerator Freezer Danby Refrigerator Freezer                      ($   110.00)   2117
      (4) Cases (10 Boxes per Case) Sanek Black Extra Large Nitrile Gloves (4)
171   Cases (10 Boxes per Case) Sanek Black Extra Large Nitrile Gloves           ($   183.00)   2080
172   Framed Canvas Art Piece 52" x 52" Framed Canvas Art Piece 52" x 52"        ($    56.00)   2039
173   Salon Barber Chair 73 x 73 x 69 cm Salon Barber Chair 73 x 73 x 69 cm      ($   135.00)   2024
174   Salon Barber Chair 73 x 73 x 69 cm Salon Barber Chair 73 x 73 x 69 cm      ($   170.00)   2024
      (6) - Salon Pros SP-707 Facial Steamer (6) - Salon Pros SP-707 Facial
175   Steamer                                                                    ($   120.00)   2086
      (6) - Salon Pros SP-707 Facial Steamer (6) - Salon Pros SP-707 Facial
176   Steamer                                                                    ($   110.00)   2024



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      (6) - Salon Pros SP-707 Facial Steamer (6) - Salon Pros SP-707 Facial
177   Steamer                                                                          ($   130.00)   2024
      Canvas Art Lady in Dress Approx. 50inX30in Canvas Art Lady in Dress
178   Approx. 50inX30in                                                                ($    40.00)   2037
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
179   Cabinets                                                                         ($    90.00)   2117
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
180   Cabinets                                                                         ($    60.00)   2011
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
181   Cabinets                                                                         ($    55.00)   2024
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
182   Cabinets                                                                         ($    40.00)   2024
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
183   Cabinets                                                                         ($    60.00)   2024
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
184   Cabinets                                                                         ($    70.00)   2024
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
185   Cabinets                                                                         ($    50.00)   2024
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
186   Cabinets                                                                         ($    80.00)   2004
187   Canvas Art Lake Approx. 51" X 52" Canvas Art Lake Approx. 51" X 52"              ($    50.00)   2108
      (4) Cases (10) Boxes per Case) Sanek Black Small Nitrile Gloves (4) Cases
188   (10) Boxes per Case) Sanek Black Small Nitrile Gloves                            ($   140.00)   2117
      (4) Cases (10) Boxes per Case) Sanek Black Small Nitrile Gloves (4) Cases
189   (10) Boxes per Case) Sanek Black Small Nitrile Gloves                            ($   140.00)   2117
      (4) Cases (10) Boxes per Case) Sanek Black Small Nitrile Gloves (4) Cases
190   (10) Boxes per Case) Sanek Black Small Nitrile Gloves                            ($   140.00)   2117
      (4) Cases (10) Boxes per Case) Sanek Black Medium Nitrile Gloves (4) Cases
191   (10) Boxes per Case) Sanek Black Medium Nitrile Gloves                     ($         140.00)   2117
      (4) Cases (10) Boxes per Case) Sanek Black Medium Nitrile Gloves (4) Cases
192   (10) Boxes per Case) Sanek Black Medium Nitrile Gloves                     ($         140.00)   2117
      (5) Cases (10) Boxes per Case) Sanek Black Medium Nitrile Gloves (5) Cases
193   (10) Boxes per Case) Sanek Black Medium Nitrile Gloves                     ($         162.00)   2104
      (3) Cases (10) Boxes per Case) Sanek Black Large Nitrile Gloves (3) Cases
194   (10) Boxes per Case) Sanek Black Large Nitrile Gloves                            ($   100.00)   2035
      (4) Cases (10) Boxes per Case) Sanek Black Large Nitrile Gloves (4) Cases
195   (10) Boxes per Case) Sanek Black Large Nitrile Gloves                            ($   140.00)   2115
      (4) Cases (10) Boxes per Case) Sanek Black Large Nitrile Gloves (4) Cases
196   (10) Boxes per Case) Sanek Black Large Nitrile Gloves                            ($   131.00)   2035
      (4) Cases (50 Bags, 80 Per Bag) Graham Professionals Spa Essentials Cotton
      Rounds (4) Cases (50 Bags, 80 Per Bag) Graham Professionals Spa
197   Essentials Cotton Rounds                                                   ($          70.00)   2117
      (4) Cases (72 3/4 Oz Tubes Per Box) King Research Triple LanolinHand and
      Body Lotion (4) Cases (72 3/4 Oz Tubes Per Box) King Research Triple
198   LanolinHand and Body Lotion                                              ($           115.00)   2104



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      (4) Cases (72 3/4 Oz Tubes Per Box) King Research Triple LanolinHand and
      Body Lotion (4) Cases (72 3/4 Oz Tubes Per Box) King Research Triple
199   LanolinHand and Body Lotion                                              ($      120.00)   2143
      (4) Cases (72 3/4 Oz Tubes Per Box) King Research Triple LanolinHand and
      Body Lotion (4) Cases (72 3/4 Oz Tubes Per Box) King Research Triple
200   LanolinHand and Body Lotion                                              ($      100.00)   2143
      (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Lotion (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin
201   Aloe Vera Lotion                                                           ($    125.00)   2143
      (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Lotion (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin
202   Aloe Vera Lotion                                                           ($    115.00)   2104
      (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Lotion (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin
203   Aloe Vera Lotion                                                           ($    125.00)   2140
      (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Lotion (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin
204   Aloe Vera Lotion                                                           ($     90.00)   2104
      (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Lotion (5) Cases (72 3/4 Oz Tubes Per Box) King Research Triple Lanolin
205   Aloe Vera Lotion                                                           ($     80.00)   2104
      (3) Cases (36 6 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Hand and Body Lotion (3) Cases (36 6 Oz Tubes Per Box) King Research
206   Triple Lanolin Aloe Vera Hand and Body Lotion                               ($    85.00)   2143
      (3) Cases (12 20 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Hand and Body Lotion (3) Cases (12 20 Oz Tubes Per Box) King Research
207   Triple Lanolin Aloe Vera Hand and Body Lotion                               ($    95.00)   2087
      (3) Cases (12 20 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Hand and Body Lotion (3) Cases (12 20 Oz Tubes Per Box) King Research
208   Triple Lanolin Aloe Vera Hand and Body Lotion                               ($   116.00)   2106
      (3) Cases (12 20 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Hand and Body Lotion (3) Cases (12 20 Oz Tubes Per Box) King Research
209   Triple Lanolin Aloe Vera Hand and Body Lotion                               ($   115.00)   2080
      (2) Cases (12 20 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Hand and Body Lotion (2) Cases (12 20 Oz Tubes Per Box) King Research
210   Triple Lanolin Aloe Vera Hand and Body Lotion                               ($    70.00)   2143
      (3) Cases (12 20 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Hand and Body Lotion (3) Cases (12 20 Oz Tubes Per Box) King Research
211   Triple Lanolin Aloe Vera Hand and Body Lotion                               ($    90.00)   2106
      (5) Cases (12 20 Oz Tubes Per Box) King Research Triple Lanolin Aloe Vera
      Hand and Body Lotion (5) Cases (12 20 Oz Tubes Per Box) King Research
212   Triple Lanolin Aloe Vera Hand and Body Lotion                               ($   150.00)   2035
      (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for the
      Skin (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for
213   the Skin                                                                    ($   150.00)   2143




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      (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for the
      Skin (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for
214   the Skin                                                                         ($   140.00)   2117
      (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for the
      Skin (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for
215   the Skin                                                                         ($   160.00)   2035
      (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for the
      Skin (5) Cases (12 16 oz Bottles Per Box) GiGi Wax Off Wax Remover for
216   the Skin                                                                         ($   160.00)   2140
      (4) Cases (12 15 oz Cans Per Box) Clippercide (4) Cases (12 15 oz Cans Per
217   Box) Clippercide                                                                 ($   140.00)   2106
      (5) Cases (12 15 oz Cans Per Box) Clippercide (5) Cases (12 15 oz Cans Per
218   Box) Clippercide                                                                 ($   165.00)   2086
      (5) Cases (12 15 oz Cans Per Box) Clippercide (5) Cases (12 15 oz Cans Per
219   Box) Clippercide                                                                 ($   172.00)   2080
      (5) Cases (12 15 oz Cans Per Box) Clippercide (5) Cases (12 15 oz Cans Per
220   Box) Clippercide                                                                 ($   170.00)   2080
      (5) Cases (12 15 oz Cans Per Box) Clippercide (5) Cases (12 15 oz Cans Per
221   Box) Clippercide                                                                 ($   165.00)   2106
      (2) Cases (12 15.5 oz Cans Per Case) Andis Cool Care Plus for Clipper
      Blades (2) Cases (12 15.5 oz Cans Per Case) Andis Cool Care Plus for
222   Clipper Blades                                                                   ($    85.00)   2104
      (2) Cases (12 15.5 oz Cans Per Case) Andis Cool Care Plus for Clipper
      Blades (2) Cases (12 15.5 oz Cans Per Case) Andis Cool Care Plus for
223   Clipper Blades                                                                   ($    95.00)   2104
      (3) - Salon Pros SP-209 Sterilizer Cabinets (3) - Salon Pros SP-209 Sterilizer
225   Cabinets                                                                         ($    50.00)   2004
      (3) - Salon Pros SP-209 Sterilizer Cabinets (3) - Salon Pros SP-209 Sterilizer
226   Cabinets                                                                         ($    60.00)   2086
      (3) - Salon Pros SP-209 Sterilizer Cabinets (3) - Salon Pros SP-209 Sterilizer
227   Cabinets                                                                         ($    60.00)   2086
228   (27) Barber Pro Series Clean Up Kit (27) Barber Pro Series Clean Up Kit          ($   160.00)   2109
229   (22) Barber Pro Series Clean Up Kit (22) Barber Pro Series Clean Up Kit          ($   120.00)   2109
230   (16) Barber Pro Series Clean Up Kit (16) Barber Pro Series Clean Up Kit          ($   105.00)   2140
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
231   Cabinets                                                                         ($   105.00)   2086
232   Canvas Art Approx. 51" X 52" Canvas Art Approx. 51" X 52"                        ($    42.00)   2120
      (3) Stainless Steel Rectangular Step Trash Cans (3) Stainless Steel
233   Rectangular Step Trash Cans                                                      ($   148.00)   2087
234   (27) Barber Pro Series Clean Up Kit (27) Barber Pro Series Clean Up Kit          ($   120.00)   2004
      (7) - Salon Pros SP-707 Facial Steamer (7) - Salon Pros SP-707 Facial
235   Steamer                                                                          ($   150.00)   2086
      (7) - Salon Pros SP-707 Facial Steamer (7) - Salon Pros SP-707 Facial
236   Steamer                                                                          ($   145.00)   2013
237   Framed Print Piece Approx. 35" x 35" Framed Print Piece Approx. 35" x 35" ($           60.00)   2037



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      Box of Approx. 50 Personna Double Edge Blades Box of Approx. 50
238   Personna Double Edge Blades                                                      ($   271.00)   2058
      Box of Approx. 50 Personna Double Edge Blades Box of Approx. 50
239   Personna Double Edge Blades                                                      ($   291.00)   2058
      Box of Approx. 45 Personna Double Edge Blades Box of Approx. 45
240   Personna Double Edge Blades                                                      ($   250.00)   2035
      Box of Approx. 50 Personna Double Edge Blades Box of Approx. 50
241   Personna Double Edge Blades                                                      ($   305.00)   2058
      Box of Approx. 20 Peronna Hair Shaper Blades Box of Approx. 20 Peronna
242   Hair Shaper Blades                                                               ($   260.00)   2080
      Box of Credit Card Processing Machines and Paper Rolls Box of Credit Card
244   Processing Machines and Paper Rolls                                       ($           30.00)   2003
245   Glass Ikea Jars Approx. 80 Jars Glass Ikea Jars Approx. 80 Jars                  ($    45.00)   2062
246   Dayton Waerhouse Fan Dayton Waerhouse Fan                                        ($    90.00)   2122
247   (2) Step Stools (2) Step Stools                                                  ($    55.00)   2117
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
248   Cabinets                                                                         ($    50.00)   2013
249   Werner 6' Step Ladder Werner 6' Step Ladder                                      ($    45.00)   2077
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
250   Cabinets                                                                         ($    70.00)   2081
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
251   Cabinets                                                                         ($    70.00)   2109
252   Section of Blue Warehouse Shelving Section of Blue Warehouse Shelving            ($    50.00)   2056
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
253   Cabinets                                                                         ($    60.00)   2024
      (6) - Salon Pros SP-209 Sterilizer Cabinets (6) - Salon Pros SP-209 Sterilizer
254   Cabinets                                                                         ($    60.00)   2109
255   FS-112 Magic Mirror Face Survey FS-112 Magic Mirror Face Survey                  ($   240.00)   2140
256   (2) Boxes (264 Per Box) Salon Towels (2) Boxes (264 Per Box) Salon Towels ($          140.00)   2117
257   (2) Boxes (264 Per Box) Salon Towels (2) Boxes (264 Per Box) Salon Towels ($          160.00)   2117
258   (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer            ($    90.00)   2035
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
259   Cabinets                                                                         ($    40.00)   2086
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
260   Cabinets                                                                         ($    40.00)   2086
      (4) - Salon Pros SP-209 Sterilizer Cabinets (4) - Salon Pros SP-209 Sterilizer
261   Cabinets                                                                         ($    45.00)   2086
262   (8) - Salon Pros SP-607 Wax Warmer (8) - Salon Pros SP-607 Wax Warmer            ($   115.00)   2004
263   (8) - Salon Pros SP-607 Wax Warmer (8) - Salon Pros SP-607 Wax Warmer            ($   115.00)   2086
264   (8) - Salon Pros SP-607 Wax Warmer (8) - Salon Pros SP-607 Wax Warmer            ($   105.00)   2086
265   Assortment of Lighted Letters Assortment of Lighted Letters                      ($    95.00)   2006
266   Little Giant Ladder System Alta-One Little Giant Ladder System Alta-One          ($    60.00)   2137
267   Assortment of Packing Supplies Assortment of Packing Supplies                    ($    60.00)   2080



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268   Facial Bed Facial Bed                                                        ($   145.00)   2024
      (2) Salon Pros SP-707 Facial Steamer and (3) Salon Pros Magnifying Lamps
269   (2) Salon Pros SP-707 Facial Steamer and (3) Salon Pros Magnifying Lamps ($       210.00)   2086
      Contents of Pallet - Salon Chair Replacement Parts Contents of Pallet -
270   Salon Chair Replacement Parts                                                ($    35.00)   2024
271   Contents of (2) Plastic Tubs Contents of (2) Plastic Tubs                    ($    36.00)   2028
272   (2) Boxes Plastic Spray Bottles (2) Boxes Plastic Spray Bottles              ($    25.00)   2117
273   (2) Boxes Plastic Spray Bottles (2) Boxes Plastic Spray Bottles              ($    15.00)   2052
274   (2) Boxes Plastic Spray Bottles (2) Boxes Plastic Spray Bottles              ($    15.00)   2111
275   (3) Boxes Plastic Spray Bottles (3) Boxes Plastic Spray Bottles              ($    20.00)   2004
      (6) Sections of Metal Shelving and Pieces in Corner (6) Sections of Metal
276   Shelving and Pieces in Corner                                                ($   192.00)   2073
      Contents of Four Shelves (Does Not Include Shelving) Contents of Four
277   Shelves (Does Not Include Shelving)                                          ($   135.00)   2152
      Contents of Four Shelves (Does Not Include Shelving) Contents of Four
278   Shelves (Does Not Include Shelving)                                          ($    75.00)   2003
      Contents of Four Shelves (Does Not Include Shelving) Contents of Four
279   Shelves (Does Not Include Shelving)                                          ($   130.00)   2006
280   (6) - Salon Pros SP-607 Wax Warmer (6) - Salon Pros SP-607 Wax Warmer        ($    90.00)   2086
281   (9) DVD Players (9) DVD Players                                              ($    35.00)   2004
282   (2) White Micowave Ovens (2) White Micowave Ovens                            ($    25.00)   2117
283   Panasonic Flat Screen Television Panasonic Flat Screen Television            ($    50.00)   2039
284   (6) Miscellaneous Cash Registers (6) Miscellaneous Cash Registers            ($   180.00)   2068
285   Hisense Flat Screen Television Hisense Flat Screen Television                ($    45.00)   2035
      Tools of The Trade 12 Piece Stainless Steel Cookware set Tools of The
286   Trade 12 Piece Stainless Steel Cookware set                                  ($    40.00)   2111
287   Wahl Finale and Shaver/Shaper Wahl Finale and Shaver/Shaper                  ($    70.00)   2030
288   (7) Portable Radio CD Players (7) Portable Radio CD Players                  ($    40.00)   2003
289   Wahl Finale and Shaver/Shaper Wahl Finale and Shaver/Shaper                  ($    70.00)   2087
290   Wahl Finale and Shaver/Shaper Wahl Finale and Shaver/Shaper                  ($    65.00)   2109
291   Wahl Finale and Shaver/Shaper Wahl Finale and Shaver/Shaper                  ($    71.00)   2036
292   Wahl Finale and Shaver/Shaper Wahl Finale and Shaver/Shaper                  ($    71.00)   2140
      Items on Two Shelves - Power Strips, Trash Cans, (2) Monitors, Phone,
      Keyboard, Speakers Items on Two Shelves - Power Strips, Trash Cans, (2)
293   Monitors, Phone, Keyboard, Speakers                                          ($    35.00)   2003
294   Framed Canvas Art Approx. 62" x 50" Framed Canvas Art Approx. 62" x 50" ($         40.00)   2117
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
295   Cabinets                                                                     ($    95.00)   2128
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
296   Cabinets                                                                     ($    60.00)   2024
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
297   Cabinets                                                                     ($    45.00)   2035




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      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
298   Cabinets                                                                     ($    55.00)   2103
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
299   Cabinets                                                                     ($    45.00)   2013
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
300   Cabinets                                                                     ($    40.00)   2013
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
301   Cabinets                                                                     ($    35.00)   2035
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
302   Cabinets                                                                     ($    35.00)   2035
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
303   Cabinets                                                                     ($    40.00)   2106
      (6) Salon Pros SP-209 Sterilizer Cabinets (6) Salon Pros SP-209 Sterilizer
304   Cabinets                                                                     ($    60.00)   2035
      (5) Salon Pros SP-209 Sterilizer Cabinets (5) Salon Pros SP-209 Sterilizer
305   Cabinets                                                                     ($    65.00)   2081
      (5) Salon Pros SP-209 Sterilizer Cabinets (5) Salon Pros SP-209 Sterilizer
306   Cabinets                                                                     ($    40.00)   2024
307   (2) Blue Coleman Coolers (2) Blue Coleman Coolers                            ($    15.00)   2096
      (6) Cases (25 Each Case) GiGi Assorted Creams and Honee (6) Cases (25
308   Each Case) GiGi Assorted Creams and Honee                                    ($   330.00)   2143
      (6) Cases (25 Each Case) GiGi Assorted Creams and Honee (6) Cases (25
309   Each Case) GiGi Assorted Creams and Honee                                    ($   340.00)   2035
      (5) Cases (25 Each Case) GiGi Assorted Creams and Honee (5) Cases (25
310   Each Case) GiGi Assorted Creams and Honee                                    ($   340.00)   2098
      (3) Cases (25 Each Case) GiGi Assorted Creams and Honee (3) Cases (25
311   Each Case) GiGi Assorted Creams and Honee                                    ($   310.00)   2086
      (4) Cases (24 Strips Per Pack, 10 Packs Per Carton) Sanek Plus Neck Strips
312   (4) Cases (24 Strips Per Pack, 10 Packs Per Carton) Sanek Plus Neck Strips   ($    45.00)   2104
313   (5) Salon Pros SP-707 Facial Steamer (5) Salon Pros SP-707 Facial Steamer    ($   120.00)   2011
314   Miscellaneous Carts and Table Miscellaneous Carts and Table                  ($    40.00)   2108
      (12) 8 oz Bottles Blade Glide Plus Hair Cutting and Shaving Lotion (12) 8 oz
315   Bottles Blade Glide Plus Hair Cutting and Shaving Lotion                     ($    36.00)   2087
      (12) 8 oz Bottles Blade Glide Plus Hair Cutting and Shaving Lotion (12) 8 oz
316   Bottles Blade Glide Plus Hair Cutting and Shaving Lotion                     ($    29.00)   2104
      (12) 8 oz Bottles Blade Glide Plus Hair Cutting and Shaving Lotion (12) 8 oz
317   Bottles Blade Glide Plus Hair Cutting and Shaving Lotion                     ($    36.00)   2087
318   (1) Salon Pros Magnifying Lamps (1) Salon Pros Magnifying Lamps              ($    40.00)   2122
319   (1) Salon Pros Magnifying Lamps (1) Salon Pros Magnifying Lamps              ($    45.00)   2122
320   (1) Salon Pros Magnifying Lamps (1) Salon Pros Magnifying Lamps              ($    45.00)   2122
321   (1) Salon Pros Magnifying Lamps (1) Salon Pros Magnifying Lamps              ($    35.00)   2099
322   (3) Salon Pros Magnifying Lamps (3) Salon Pros Magnifying Lamps              ($    90.00)   2086
323   (3) Salon Pros Magnifying Lamps (3) Salon Pros Magnifying Lamps              ($    95.00)   2086
324   (3) Salon Pros Magnifying Lamps (3) Salon Pros Magnifying Lamps              ($    85.00)   2024



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325   (3) Salon Pros Magnifying Lamps (3) Salon Pros Magnifying Lamps             ($   100.00)   2008
326   (4) Salon Pros Magnifying Lamps (4) Salon Pros Magnifying Lamps             ($   110.00)   2140
327   (4) Salon Pros Magnifying Lamps (4) Salon Pros Magnifying Lamps             ($    90.00)   2086
328   (4) Salon Pros Magnifying Lamps (4) Salon Pros Magnifying Lamps             ($   125.00)   2011
329   (4) Salon Pros Magnifying Lamps (4) Salon Pros Magnifying Lamps             ($   115.00)   2024
331   Assortment of White Trash Cans Assortment of White Trash Cans               ($    30.00)   2108
332   (6) Boxes of Mirrors (6) Boxes of Mirrors                                   ($    60.00)   2086
      (2) Black/Stainless Rolling Cart with Drawers (2) Black/Stainless Rolling
333   Cart with Drawers                                                           ($    70.00)   2086
334   (3) Boxes of Mirrors (3) Boxes of Mirrors                                   ($    35.00)   2024
335   (3) Boxes of X-Large TV Mirrors (3) Boxes of X-Large TV Mirrors             ($    25.00)   2086
336   (3) Boxes of X-Large TV Mirrors (3) Boxes of X-Large TV Mirrors             ($    35.00)   2086
337   Trade Show Display Trade Show Display                                       ($    50.00)   2006
338   Trade Show Display Trade Show Display                                       ($    45.00)   2006
339   Rolling Metal Tray Rolling Metal Tray                                       ($    30.00)   2039
340   Small Dock Plate Small Dock Plate                                           ($    80.00)   2004
      Content of Pallet - Assortment of Spray Bottles Content of Pallet -
341   Assortment of Spray Bottles                                                 ($    55.00)   2028
342   White Rolling Cart White Rolling Cart                                       ($    35.00)   2132
343   Large bag and Box of Ponchos Large bag and Box of Ponchos                   ($    26.00)   2109
344   (15) Boxes of Assorted Spray Bottles (15) Boxes of Assorted Spray Bottles   ($    65.00)   2006
345   (4) Boxes of Assorted Spray Bottles (4) Boxes of Assorted Spray Bottles     ($    40.00)   2109
      (8) Cases (25 Each Case) GiGi Assorted Creams and Honee (8) Cases (25
346   Each Case) GiGi Assorted Creams and Honee                                   ($   500.00)   2086
      (7) Cases (25 Each Case) GiGi Assorted Creams and Honee (7) Cases (25
347   Each Case) GiGi Assorted Creams and Honee                                   ($   370.00)   2086
348   (2) Ionic Facial Steamers IM:JY-09 (2) Ionic Facial Steamers IM:JY-08       ($   180.00)   2140
350   Salon Pros Chair NEW Out Of Box Salon Pros Chair NEW Out Of Box             ($    75.00)   2024
351   Salon Pros Chair NEW Out Of Box Salon Pros Chair NEW Out Of Box             ($    50.00)   2024
      Salon Pros Barber Chair 70x70x68cm Model Number 6827 Salon Pros
352   Barber Chair 70x70x68cm Model Number 6826                                   ($    65.00)   2024
      Salon Pros Barber Chair 70x70x68cm Model Number 6827 Salon Pros
353   Barber Chair 70x70x68cm Model Number 6826                                   ($    65.00)   2024
      Salon Pros Barber Chair 70x70x68cm Model Number 6827 Salon Pros
354   Barber Chair 70x70x68cm Model Number 6826                                   ($    65.00)   2024
      Salon Pros Barber Chair 70x70x68cm Model Number 6827 Salon Pros
355   Barber Chair 70x70x68cm Model Number 6826                                   ($    70.00)   2024
      Salon Pros Barber Chair 70x70x68cm Model Number 6827 Salon Pros
356   Barber Chair 70x70x68cm Model Number 6826                                   ($    75.00)   2024
      Salon Pros Barber Chair 70x70x68cm Model Number 6827 Salon Pros
357   Barber Chair 70x70x68cm Model Number 6826                                   ($    70.00)   2024
      Salon Pros Barber Chair 70x70x68cm Model Number 6826 (4) Salon Pros
358   Barber Chair 70x70x68cm Model Number 6826 (4)                               ($   260.00)   2024



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      Salon Pros Barber Chair 70x70x68cm Model Number 6826 (4) Salon Pros
359   Barber Chair 70x70x68cm Model Number 6826 (4)                             ($   265.00)   2024
360   Salon Pros Chair NEW Out Of Box Salon Pros Chair NEW Out Of Box           ($    55.00)   2024
361   Salon Pros Chair NEW Out Of Box Salon Pros Chair NEW Out Of Box           ($    55.00)   2024
362   Assortment of Dispaly Banners, Etc. Assortment of Dispaly Banners, Etc.   ($    55.00)   2006
363   3 Plastic Shelves &amp; Contents 2 Plastic Shelves &amp; Contents         ($   410.00)   2080
364   3 Boxes - Stanchions 3 Boxes - Stanchions                                 ($    75.00)   2122
365   3 Boxes - Stanchions 3 Boxes - Stanchions                                 ($    90.00)   2122
366   Skin Scan Skin Scan                                                       ($    85.00)   2117
367   Skin Scan Skin Scan                                                       ($    75.00)   2117
368   Contents of Box - Razors Contents of Box - Razors                         ($    35.00)   2004
369   Hisense Flat Screen Television Hisense Flat Screen Television             ($    45.00)   2035
370   Panasonic Flat Screen Television Panasonic Flat Screen Television         ($    55.00)   2050
      Premium Refrigerator/Freezer w/ Sharp Microwave Premium
371   Refrigerator/Freezer w/ Sharp Microwave                                   ($   160.00)   2056
372   4 Boxes - Salon Towels 3 Boxes - Salon Towels                             ($   170.00)   2086
373   3 Boxes - Mats 2 Boxes - Mats                                             ($    85.00)   2143
374   5 Boxes - Salon Towels 4 Boxes - Salon Towels                             ($   175.00)   2086
375   11 Chairs 10 Chairs                                                       ($   210.00)   2140
377   Executive Chair Executive Chair                                           ($    45.00)   2062
      Plastic Shelving &amp; Contents (Salon Towels) Plastic Shelving &amp;
379   Contents (Salon Towels)                                                   ($   160.00)   2109
      Clover POS System Including Terminal P100 Printer, C101 Touch Screen,
      and Cash Box (No Key) Clover POS System Including Terminal P100 Printer,
381   C101 Touch Screen, and Cash Box (No Key)                                 ($    170.00)   2003
      Clover POS System Including Terminal P100 Printer, C101 Touch Screen,
      and Cash Box (No Key) Clover POS System Including Terminal P100 Printer,
382   C101 Touch Screen, and Cash Box (No Key)                                 ($    170.00)   2003
      Clover POS System Including Terminal P100 Printer, C101 Touch Screen,
      and Cash Box (No Key) Clover POS System Including Terminal P100 Printer,
383   C101 Touch Screen, and Cash Box (No Key)                                 ($    145.00)   2003
      Clover POS System Including Terminal P100 Printer, C101 Touch Screen,
      and Cash Box (No Key) Clover POS System Including Terminal P100 Printer,
384   C101 Touch Screen, and Cash Box (No Key)                                 ($    170.00)   2003
      Clover POS System Including Terminal P100 Printer, C101 Touch Screen,
      and Cash Box (No Key) Clover POS System Including Terminal P100 Printer,
385   C101 Touch Screen, and Cash Box (No Key)                                 ($    160.00)   2003
386   Salon Chair Salon Chair                                                   ($    65.00)   2039
387   Salon Chair Salon Chair                                                   ($    66.00)   2108
388   Salon Chair Salon Chair                                                   ($    60.00)   2108
389   Salon Chair Salon Chair                                                   ($   115.00)   2086
390   Salon Chair Salon Chair                                                   ($   120.00)   2086
392   Salon Chair Salon Chair                                                   ($    65.00)   2081
393   Salon Chair Salon Chair                                                   ($    65.00)   2122


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394   Portable Salon Kit Portable Salon Kit                                      ($    100.00)    2003
395   Portable Salon Kit Portable Salon Kit                                      ($     95.00)    2117
396   Portable Salon Kit Portable Salon Kit                                      ($     70.00)    2069
397   Portable Salon Kit Portable Salon Kit                                      ($     90.00)    2008
      Assortment of Empty Product Bottles Assortment of Empty Product
398   Bottles                                                                    ($     26.00)    2039
                                                          Total of All Lots Sold: ($ 95,280.00)




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                                CERTIFICATE OF SERVICE

          I hereby certify that I am over the age of 18 and that on this day I served a copy of

   the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

   on the following persons or entities at the addresses stated:

              Thomas Wayne Dworschak
              Office of the United States Trustee
              362 Richard B. Russell Building
              75 Ted Turner Drive, SW
              Atlanta, GA 30303

              Beautiful Brows LLC
              5002 North Royal Atlanta Dr
              Suite M
              Tucker, GA 30084

              Jason L. Pettie
              Jason L. Pettie, PC
              P.O. Box 17936
              Atlanta, GA 30316

   Dated: October 1, 2019.

                                                            /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
